Case 3:19,¢4-00377-\

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

CRIMINAL COVER SHEET

Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.

CASE NAME: ay eR: 0 es
USAV. Anthony Scott Levandowski CR 9 3 "q ”@ LHK

Is This Case Under Seal? Yes ¥ No

Total Number of Defendants: aw 32-7 8 or more SVK

Does this case involve ONLY charges
under 8 U.S.C. § 1325 and/or 1326?

Yes No ¥
Venue (Per Crim. L.R. 18-1): SF OAK SI ¥
Is this a potential high-cost case? Yes No ¥

Is any defendant charged with
a death-penalty-eligible crime? ss Na v
Is this a RICO Act gang case? Yes No ¥

ea eeoree Katherine L. Wawrzyniak Date Submitted: (8/15/2019

Comments:

Government will be filing a notice of related case to Waymo v. Uber, et al., 17-cv-939 WHA.

RESET FORM SAVE PDF
Form CAND-CRIM-COVER (Rev. 11/16)
